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 9

10
                                UNITED STATES DISTRICT COURT

11                                  DISTRICT OF ARIZONA
12   ArizonaYagé Assembly, and Winfield            Case No.:20-CV-02373-ROS
     Scott Stanley III, in his capacity as
13   Founder and Director of Arizona Yagé          EX PARTE MOTION FOR STAY OF
14
     Assembly,                                     DISCOVERY ORDER (DKT. # 220)
                                                   AND FURTHER DISCOVERY
15                Plaintiffs,                      ADJUDICATIONS PENDING
                                                   APPEAL
16         vs.
17   Merrick Garland Attorney General of the
18
     United States; et al.

19                Defendants.
20
           Plaintiffs Arizona Yagé Assembly and Winfield Scott Stanley III (“Plaintiffs”),
21

22
     hereby move the Court for a stay of (1) the Court’s order entered February 22, 2024, Dkt.

23   # 220 (herein the “Disclosure Order”), (2) any further adjudications pursuant to the

24   Court’s Discovery Rule that forbids the filing of motions pursuant to the provisions of
25   F.R.Civ.P. Rules 26, 30, 33, 34, and 36, and (3) any adjudications pursuant to F.R.Civ.P.
26   37.
27         The grounds for the motion are that the Disclosure Order infringes the First
28   Amendment rights of the Plaintiffs, that the Court’s Discovery Rule exceeds the Court’s

                                    MOTION FOR STAY PENDING APPEAL
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 1   proper authority under Rule 83 by eliminating procedures set forth by the drafter of the
 2
     Federal Rules and violates Plaintiffs’ rights of due process, and that any further
 3
     adjudications pursuant to Rule 37 would be without lawful cause because premised upon
 4
     presumed violations of the Disclosure Order and the Court’s Discovery Rule, both of
 5
     which orders are themselves unlawful. Further grounds for granting the motion are set
 6
     forth in the Memorandum of Points and Authorities and the Declaration of Winfield Scott
 7
     Stanley III, filed herewith. This motion is submitted ex parte due to the shortness of the
 8
     time between now and the compliance date of the Disclosure Order (Dkt. # 220);
 9
     however, Plaintiffs did give notice of the intent to file this motion on Monday, 6, 2024,
10
     with a detailed explanation of the grounds therefor, and requested the Defendants to
11
     stipulate to the requested stay.
12

13
                     MEMORANDUM OF POINTS AND AUTHORITIES

14   A.     The Disclosure Order Violates Plaintiffs’ First Amendment Rights by

15   Requiring Disclosure of the Identities of 5,239 People, Their Religious
16   Correspondence, and Thousands of Pieces of Reputationally Damaging Information
17          “It is hardly a novel perception that compelled disclosure of affiliation with
18   groups engaged in advocacy may constitute as effective a restraint on freedom of
19   association as [other] forms of governmental action.” NAACP v. Ala. ex rel. Patterson,
20   357 U.S. 449, 462, 78 S. Ct. 1163, 1171-72 (1958)(citations omitted).
21
            The Disclosure Order (Dkt. # 220) compels Plaintiffs to disclose the “identities of
22
     no less than 5,239 people … tens of thousands of emails discussing religious matters …
23
     thousands of pieces of reputationally damaging information … records of private,
24
     personal activity, and records of donations and ceremonial contributions made with the
25
     understanding that donors and contributors would remain secret.” (Stanley Dec. ¶ 3.)
26
            In Americans for Prosperity Foundation v. Bonta, 141 S. Ct. 2373, 2377 (2021),
27
     the Supreme Court overturned a Ninth Circuit decision upholding a California law that --
28
     the high Court concluded -- infringed the First Amendment by requiring the disclosure of

                                        MOTION FOR STAY PENDING APPEAL
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 1   nonprofit donors on State-mandated forms. The Ninth Circuit had failed to “narrowly
 2
     tailor” the demand for information to accord with the government’s asserted interests.
 3
          “The Ninth Circuit did not impose a narrow tailoring requirement to the
 4
          relationship between the Attorney General's demand for Schedule Bs and the
 5        identified governmental interest. That was error under the Court's precedents.
 6        And properly applied, the narrow tailoring requirement is not satisfied by
          California's disclosure regime. In fact, a dramatic mismatch exists between the
 7
          interest the Attorney General seeks to promote and the disclosure regime that
 8        he has implemented.”
 9
          Ams. for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2378 (2021)(emphasis
10        added).
11
            The Supreme Court’s position on the danger of government authorities compelling
12
     the disclosure of member lists was clearly enunciated in NAACP v. Ala. ex rel. Patterson,
13
     357 U.S. 449, 462, 78 S. Ct. 1163, 1171-72 (1958). While quashing a subpoena from
14
     Alabama to the NAACP for its membership list, the justices compared “compelled
15
     disclosure of membership in an organization engaged in advocacy of particular beliefs” to
16
     be “of the same order” as the Third Reich’s policy of requiring “adherents of particular
17
     religious faiths or political parties wear identifying arm-bands.” NAACP v. Alabama, 375
18
     U.S. at 462.
19
            The Declaration of Winfield Scott Stanley III in support of this motion establishes
20
     that Plaintiffs would suffer immediate and irreparable reputational harm as soon as
21

22
     AYA’s members, donors and correspondents learned that Plaintiffs had made such

23   disclosures. (Stanley Dec. ¶¶ 2 - 4.)

24   B.     The Court Did Not Recognize the Existence of First Amendment Privilege
25          The District Court did not consider any prejudice resulting from the invasion of
26   Plaintiffs’ First Amendment Privilege, because it mistakenly concluded no such privilege
27   was available. (Order 220, 10:16-17, quoted supra.)
28



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 1   C.     Plaintiffs Established a Prima Facie Case of First Amendment Infringement
 2
            Plaintiffs articulated their First Amendment right to be free of the associational
 3
     injuries that would be caused by compelling the disclosure of member, donor, and
 4
     correspondent lists, as well as their private email exchanges and detailed information
 5
     regarding ceremonial attendance, alleging privacy violations and First Amendment
 6
     infringements and undue burdens would flow from compelling compliance with these
 7
     demands. As noted in the Joint Statement (Dkt. # 219): “The demand imposes a severe
 8
     burden on the relationship of AYA and Plaintiff Stanley with the AYA congregation,
 9
     attempting to convert their religious participation into an avenue of negative scrutiny of
10
     the sort that this litigation is intended to remedy.”
11
     D.     The Court Should Have Applied the Perry “Two-Part” Framework for
12

13
     Determining Claims of First Amendment Privilege

14          Plaintiffs raised their claim of First Amendment Privilege and burden in the Joint

15   Statement the parties submitted in compliance with the Court’s Discovery Rule. The
16   Court, however, concluded the First Amendment had nothing to do with civil discovery.
17   In this, the Court clearly erred. The procedure to follow when First Amendment privilege
18   claims are raised in response to civil discovery demands was drawn in hornbook fashion
19   from Perry, supra, in an opinion from the Northern District of California:
20          First, the party asserting the privilege must make a "prima facie showing"
21          of "arguable first amendment infringement," demonstrating that
            enforcement of the discovery requests will result in: (1) harassment,
22          membership withdrawal, or discouragement of new members, or (2) other
23
            consequences which objectively suggest an impact on, or "chilling" of
            members' associational rights. Id. at 1160-61. If that showing is made, at
24          the second step the "evidentiary burden" shifts and the party seeking the
25
            information must show that the information sought is "rationally related to
            a compelling governmental interest" and that there are no other less
26          restrictive means of securing that information. Id. (internal quotations
27
            omitted).
            At the second step, the "analysis is meant to make discovery that
28
            impacts First Amendment associational rights available only after careful
            consideration of the need for such discovery, but not necessarily to preclude
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 1          it. The question is therefore whether the party seeking the discovery 'has
 2          demonstrated an interest in obtaining the disclosures it seeks . . . which is
            sufficient to justify the deterrent effect . . . on the free exercise . . . of [the]
 3          constitutionally protected right of association.'"
 4
            Nat'l Abortion Fed'n v. Ctr. for Med. Progress, No. 15-cv-03522-WHO,
            2015 U.S. Dist. LEXIS 192788, at *6-7 (N.D. Cal. Nov. 20, 2015), quoting
 5          Perry v. Schwarzenegger, 591 F.3d 1147, 1161 (9th Cir. 2010), quoting
 6
            NAACP v. Ala. ex rel. Patterson, 357 U.S. 449, 463, 78 S. Ct. 1163, 1172
            (1958).
 7
     E.     Plaintiffs Have a Right to Appeal the Disclosure Order Under the Collateral
 8
     Order Doctrine or, Alternatively, Via Petition for Writ of Mandamus
 9
            Collateral orders are a “narrow class of decisions that do not terminate the
10

11
     litigation, but are sufficiently important and collateral to the merits that they should

12   nonetheless be treated as final.” Will v. Hallock, 546 U.S. 345, 347 (2006) (quotation

13   marks omitted). To be immediately appealable, a collateral decision "must conclusively
14   determine the disputed question, resolve an important issue completely separate from the
15   merits of the action, and be effectively unreviewable on appeal from a final judgment."
16   Perry v. Schwarzenegger, 591 F.3d 1147, 1154 (9th Cir. 2010), quoting Coopers &
17   Lybrand v. Livesay, 437 U.S. 463, 468, 98 S. Ct. 2454, 57 L. Ed. 2d 351 (1978).
18          In the Fifth Circuit, a disclosure order that compelled Texas Catholic Conference
19
     of Bishops to disclose “emails or attachments [that] relate to the burial, cremation, or
20
     disposition of fetal or embryonic tissue” was found to be a collateral order and reversed
21
     as a First Amendment violation. See, Whole Woman's Health v. Smith, No. A-16-CV-
22
     1300-DAE, 2018 U.S. Dist. LEXIS 99275, at *4 (W.D. Tex. June 13, 2018). The appeals
23
     court easily found jurisdiction: “The standards of the collateral order doctrine are met
24
     here. There is no dispute that the district court's discovery order was conclusive on
25
     TCCB, such that failure to comply with it may result in sanctions against TCCB or its
26
     witness. Further, the order resolves important and very novel issues separate from the
27
     merits of the litigation over the Texas statute concerning the disposal of fetal tissue
28
     remains. Finally, the plaintiffs do not have an answer to the argument that the
                                      MOTION FOR STAY PENDING APPEAL
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 1   consequence of forced discovery here is "effectively unreviewable" on appeal from the
 2
     final judgment.” Whole Woman's Health v. Smith, 896 F.3d 362, 367 (5th Cir. 2018).
 3
            The Ninth Circuit has considered applying the collateral order rule in cases of First
 4
     Amendment infringement by otherwise unreviewable discovery orders. Distinguishing
 5
     Mohawk Indus. v. Carpenter, 558 U.S. 100, 130 S. Ct. 599 (2009) (denying appellate
 6
     review of order compelling disclosure of attorney-client privileged information) on
 7
     several grounds, the Ninth Circuit noted the presence of “not insubstantial … distinctions
 8
     between the First Amendment privilege and the attorney-client privilege -- a
 9
     constitutional basis, a heightened public interest, rarity of invocation and a long
10
     recognized chilling effect….” Perry v. Schwarzenegger, 591 F.3d 1147, 1156 (9th Cir.
11
     2010). Nevertheless, the Perry opinion took the safest jurisdictional course, and chose
12

13
     “to rely on mandamus to hear this exceptionally important case...” Perry v.

14   Schwarzenegger, 591 F.3d 1147, 1156 (9th Cir. 2010). Thus, Plaintiffs will move the

15   appellate court alternatively to construe their appeal as a petition for writ of mandamus.
16   F.     The Court’s Bar on Discovery Motions Eliminates Rights Granted by the
17   Drafters of the Federal Rules of Civil Procedure, and Thus Cannot Stand
18
            Meaning no disrespect to the Court, Plaintiffs must nevertheless note that it
19
     exceeded its authority under Rule 83 by eliminating a right granted by the drafters of the
20
     Federal Rules of Civil Procedure. Valenzuela-Gomez v. United States District Court, 915
21
     F.2d 1276 (9th Cir. 1990)(writ issued to prevent video-arraignment of federal defendant
22
     pursuant to General Order that violated Rules of Criminal Procedure 10 and 43, requiring
23
     in-person appearance). The Court’s standing Discovery Order essentially bars all
24
     discovery motions, and thereby, the opportunity to submit affidavits and extended legal
25
     arguments. Where a local or chambers rule eliminates rights expressly provided by the
26

27
     Federal Rules, as Valenzuela-Gomez, supra, a writ should issue to remedy the injury.

28
            Plaintiff Stanley’s declaration establishes that the inability to file affidavits
     severely prejudiced Plaintiffs: “As explained in Plaintiffs’ motion in support of the
                                     MOTION FOR STAY PENDING APPEAL
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 1   request for stay, because of the Court’s Discovery Rule1 forbidding the filing of motions,
 2
     I was unable to file a declaration to explain to the Court how Plaintiffs would be
 3
     prejudiced if compelled to disclose, as we are now required by the Disclosure Order (Dkt.
 4
     # 220)”
 5
                Because affidavits could not be filed, Plaintiffs could not inform the Court that
 6
     issuing an order containing the provisions of the Disclosure Order would require
 7
     Plaintiffs to disclose the “identities of no less than 5,239 people … tens of thousands of
 8
     emails discussing religious matters … thousands of pieces of reputationally damaging
 9
     information … records of private, personal activity, and records of donations and
10
     ceremonial contributions made with the understanding that donors and contributors
11
     would remain secret.” (Stanley Dec. ¶ 3.) The legitimacy of a First Amendment
12

13
     infringement claim premised upon these facts cannot be questioned. Additionally, it is

14   clear that the Court’s Discovery Rule was the primary cause of the inadequate factual

15   record and slender briefing of the issues, resulting in its failure to apply the Perry
16   balancing test, which resulted in the issuance of the Disclosure Order (Dkt. # 220).
17   Accordingly, further adjudications pursuant to the Court’s Discovery Rule should be
18   stayed to avoid additional decisions premised thereon, and the resulting serial appeals.
19
     G.         Plaintiffs Are Likely to Succeed on the Merits of Their Claim
20
                Plaintiffs are likely to succeed in the Ninth Circuit on the merits of their First
21

22
     Amendment privilege claim. For a certainty, they have raised “serious legal questions”

23
     sufficient to warrant a stay in light of the irreparable harm and equities weighing “sharply

24   in [our] favor,” as demonstrated below. Golden Gate Rest. Ass’n v. San Francisco, 512

25   F.3d 1112, 1116 (9th Cir. 2008).
26
     H.         Irreparable Harm is Certain in the Absence of a Stay
27

28
     1
         https://www.azd.uscourts.gov/sites/azd/files/judge-orders/ROS_Discovery_Dispute_Instructions_On_Line.pdf

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 1            In the Ninth Circuit, that a stay applicant has “raised serious First Amendment
 2
     questions compels a finding that there exists the potential for irreparable injury, or that at
 3
     the very least the balance of hardships tips sharply in [the stay applicant’s] favor.” Cmty.
 4
     House, Inc. v. City of Boise, 490 F.3d 1041, 1059 (9th Cir. 2007) (quotation marks
 5
     omitted; emphasis added); accord Sammartano v. First Judicial Dist. Court, 303 F.3d
 6
     959, 973 (9th Cir. 2002). Thus, “[t]o establish irreparable injury in the First Amendment
 7
     context” a stay applicant “need only demonstrate the existence of a colorable First
 8
     Amendment claim.” Brown v. Cal. Dep’t of Transp., 321 F.3d 1217, 1225 (9th Cir. 2003)
 9
     (quotation marks and alterations omitted).
10
              Forcing a litigant to disclose privileged materials necessarily inflicts irreparable
11
     harm because once the materials have been disclosed, it is impossible to “undisclose”
12

13
     them. In re Napster, 479 F.3d at 1088; Admiral Ins. Co. v. United States Dist. Court, 881

14   F.2d 1486, 1491 (9th Cir. 1989); United States v. Amlani, 169 F.3d 1189, 1193 n.4 (9th

15   Cir. 1999); Philip Morris, 314 F.3d at 621- 22. The infringement of “First Amendment
16   freedoms . . . unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S.
17   347, 373 (1976) (plurality); accord Brown v. Cal. DOT, 321 F.3d 1217, 1226 (9th Cir.
18   2003).
19            Finally, Plaintiff Stanley is under a claim of conscience here that runs contrary to
20   the commands of the Disclosure Order (Dkt. # 220) that would require him to breach the
21
     bond of trust with his congregation. (Stanley Dec. ¶¶ 2 -4 and ¶ 8.) The issuance of the
22
     Discovery Order has already put the AYA congregation into a crisis. (Stanley Dec. ¶ 6.)
23
     Compliance with the Disclosure Order would visit immediate, irreparable injury to the
24
     associational rights of AYA and Stanley. (Stanley Dec. ¶ 4.)
25
     I.       The Four Factors Warranting a Stay Are Satisfied
26
              Four factors inform whether a federal court should issue a stay pending appeal: (1)
27
     the appellants’ likelihood of success on the merits; (2) the possibility of irreparable harm
28
     absent a stay; (3) the possibility of substantial injury to other parties if a stay is issued;

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 1   and (4) the public interest. See Golden Gate Rest. Ass’n v. San Francisco, 512 F.3d 1112,
 2
     1115 (9th Cir. 2008)(citing Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).
 3
            When applying these four factors, the Ninth Circuit employs a “sliding scale”
 4
     approach: the more sharply the equities weigh in favor of a stay, the less demanding of a
 5
     showing of likely success on the merits is required. See Natural Res. Def. Council, Inc. v.
 6
     Winter, 502 F.3d 859, 862 (9th Cir. 2007), vacated on other grounds by 508 F.3d 885
 7
     (9th Cir. 2007); Golden Gate, 512 F.3d at 1116. See id.
 8
            A consideration of the factors and analysis identified by the Ninth Circuit
 9
     demonstrates that Plaintiffs are entitled to a stay. Thus, “[t]o establish irreparable injury
10
     in the First Amendment context” a stay applicant “need only demonstrate the existence of
11
     a colorable First Amendment claim.” Brown v. Cal. Dep’t of Transp., 321 F.3d 1217,
12

13
     1225 (9th Cir. 2003) (quotation marks and alterations omitted). In this case, irreparable

14   injury has already begun, with the AYA staff in a crisis concerning the discovery

15   demands, and the looming certainty of massive reputational and associational injury to
16   AYA and Stanley in the event they were compelled to make the disclosures commanded
17   by the Disclosure Order (Dkt. # 220).
18   J. OTHER PARTIES WILL NOT BE SUBSTANTIALLY INJURED BY A STAY
19          The Ninth Circuit has given tailored guidance for balancing harms in the First
20   Amendment context: where a litigant “raise[s] serious First Amendment questions,” it
21
     “compels a finding that . . . the balance of hardships tips sharply in [that litigant’s] favor.”
22
     Cmty. House, Inc., 490 F.3d at 1059 (quotation marks omitted; emphasis added);
23
     Sammartano, 303 F.3d at 973. That principle fully applies here. And even if the Ninth
24
     Circuit were to find that the discovery at issue was not privileged, the most Defendants
25
     could claim is a delay in the proceedings below. But “[a] mere assertion of delay does not
26
     constitute substantial harm.” Philip Morris Inc., 314 F.3d at 622. This Court should thus
27
     conclude that the balance of hardships tips sharply in favor of issuing a stay pending
28
     appeal.

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 1

 2

 3
     K.     The Public Interest Weighs in Favor of a Stay
 4
            “Courts . . . have consistently recognized the significant public interest in
 5
     upholding First Amendment principles.” Sammartano, 303 F.3d at 974 (listing cases).
 6
     More particularly, courts have repeatedly acknowledged that the public interest suffers
 7
     when core First Amendment rights of political expression are jeopardized and political
 8
     participation is chilled. See, e.g., Buckley v. Valeo, 424 U.S. 1, 71 (1976) (noting that “the
 9
     public interest . . . suffers” from chilled political participation); Sammartano, 303 F.3d at
10
     974 (“[T]he public interest is better served by . . . protecting the core First Amendment
11
     right of political expression.”).
12

13
            Denying this stay and forcing immediate disclosure of AYA’s members, donors,

14   and correspondents, and the production of their private emails, personal disclosures, and

15   medical information will chill the First Amendment associational rights of thousands of
16   religious people who have been members, donors or correspondents of Plaintiffs.
17   L.     CONCLUSION
18          For the foregoing reasons, the Court should grant this motion for a stay.
19   Dated: March 6, 2024                               CHARLES CARREON
                                                        /s/Charles Carreon
20
                                                        CHARLES CARREON (127139)
21                                                      Attorney for Plaintiffs
                                                        Arizona Yagé Assembly,
22                                                      Winfield Scott Stanley III
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